
Seawell, J.
delivered the opinion of the Court:
We think a statement of this case will free it from difficulty.
Park’s will is exhibited in Randolph Comity Court for Probate, is carried from thence by way of appeal to the Superior Court: from that Court is removed for trial to Rowan county, where it is tried by a jury who find in favor of the will, and the same is directed to be recorded by the Clerk of that Court, and a copy directed to Randolph for record in that county. The petitioners charge that the probate was irregular, and petition Randolph County Court to set it aside, and order probate denovo. If the probate was irregular, application must be made to the Court which erred, or to one of controlling power. The Court of Randolph has committed no blunder which stands in the way, as by the appeal to the, Superior Court, a new trial was produced. It has no control over Rowan Superior Court; and therefore if it should direct the probate to be set aside and award a rehearing, it would be vain and nugatory. We think, therefore, the petition must be dismissed.
